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Attorneys for Plaintiff
UNITED STATES OF AMERICA


                IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII


UNITED STATES OF AMERICA,      )           MAG. NO. 23-1013 WRP
                               )
               Plaintiff,      )           MOTION TO DETAIN
                               )           DEFENDANT WITHOUT BAIL;
     vs.                       )           CERTIFICATE OF SERVICE
                               )
KEINA DRAGESET,                )
                               )
               Defendant.      )
_______________________________)

            MOTION TO DETAIN DEFENDANT WITHOUT BAIL

      The United States hereby moves to detain defendant without bail, pursuant

to 18 U.S.C. ' 3142.
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             1.    Eligibility of Case. This defendant is eligible for detention

because the case involves (check all that apply):

                                a.    Offense committed on release pending
                                felony trial (3142(d)(1)(A)(i))*

                                b.    Offense committed on release pending
                                imposition, execution, or appeal of sentence,
                                conviction or completion of sentence
                                (3142(d)(1)(A)(ii))*

                                c.    Offense committed while on probation or
                                parole (3142(d)(1)(A)(iii))*

                                d.    A citizen of a foreign country or unlawfully
                                admitted person (3142(d)(1)(B))*

                                e.     Crime of violence (3142(f)(1)(A))

                                f.    Maximum sentence life imprisonment or
                                death (3142(f)(1)(B))

                    X           g.     10+ year drug offense (3142(f)(1)(C))

                                h.    Felony, with two prior convictions in above
                                categories (3142(f)(1)(D))

                                i.    Felony not otherwise a crime of violence
                                involving a minor victim (3142(f)(1)(E))

                                j.    Felony not otherwise a crime of violence
                                involving the possession or use of a firearm,
                                destructive device, or dangerous weapon
                                (3142(f)(1)(E))




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                                k.    Felony not otherwise a crime of violence
                                involving a failure to register under 18 U.S.C.
                                ' 2250 (3142(f)(1)(E))

                                l.    Serious risk defendant will flee
                                (3142(f)(2)(A))

                     X          m.    Danger to other person or community **

                                n.    Serious risk obstruction of justice
                                (3142(f)(2)(B))

                                o.    Serious risk threat, injury, intimidation of
                                prospective witness or juror (3142(f)(2)(B))

                   * requires “l” or “m” additionally

                   ** requires “a,” “b,” “c,” or “d” additionally

             2.    Reason for Detention. The court should detain

defendant (check all that apply):

                    X           a.    Because there is no condition or
                                combination of conditions of release which will
                                reasonably assure defendant=s appearance as
                                required (3142(e))

                    X           b.    Because there is no condition or
                                combination of conditions of release which will
                                reasonably assure the safety of any other person
                                and the community (3142(e))

                                c.     Pending notification of appropriate court or
                                official (not more than 10 working days (3142(d))




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            3.     Rebuttable Presumption. A rebuttable presumption that no

condition or combination of conditions will reasonably assure the appearance of

defendant as required and the safety of the community arises under Section

3142(e) because (check all that apply):

                    X           a.  Probable cause to believe defendant
                                committed 10+ year drug offense

                                b.  Probable cause to believe defendant
                                committed an offense under 18 U.S.C. ' 924(c)

                                c.    Probable cause to believe defendant
                                committed an offense under 18 U.S.C. ' 956(a) or
                                2332b

                                d.    Probable cause to believe defendant
                                committed 10+ year offense listed in 18 U.S.C.
                                ' 2332b(g)(5)(B)

                                e.      Probable cause to believe defendant
                                committed an offense involving a minor victim
                                listed in 18 U.S.C. ' 3142(e)

                                f.  Previous conviction for eligible offense
                                committed while on pretrial release

            4.     Time for Detention Hearing. The United States requests that

the court conduct the detention hearing:

                                a.    At first appearance

                    X           b.    After continuance of 3    days (not more
                                than 3)

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             5.    Out of District Rule 5 Cases. The United States

requests that the detention hearing be held:

                    X           a.     In the District of Hawaii

                                b.     In the District where charges were filed

             6.    Other Matters.


      DATED: June 26, 2023, at Honolulu, Hawaii.

                                               CLARE E. CONNORS
                                               United States Attorney
                                               District of Hawaii


                                               By /s/Marshall Silverberg
                                                 MARSHALL SILVERBERG
                                                 Assistant U.S. Attorney




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                          CERTIFICATE OF SERVICE

      I hereby certify that, on the dates and by the methods of service noted below,

a true and correct copy of the foregoing was served on the following at their last

known addresses:

Served Electronically through CM/ECF:

      Jacquelyn T. Esser, Esq.

      Attorney for Defendant
      KEINA DRAGESET

      DATED: June 26, 2023, at Honolulu, Hawaii.



                                              /s/Desirai Dawson-Tolbert
                                              Desirai Dawson-Tolbert
                                              District of Hawaii
